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                                                    July 12, 2021

 Via ECF Filing
 Hon. Anne Marie Donio, U.S.M.J.
 United States District Court/Camden
 Mitchell H. Cohen United States Court House
 One John F. Gerry Plaza – Courtroom 4D
 PO Box 887
 Camden, New Jersey 08101

           Re:        The Estate of Robert Wayne Lewis, by and through its Administrator
                      Ad Prosequendum, Tammy Wilson and Tammy Wilson in her own
                      right v. County of Cumberland, Warden Robert Balicki, in his
                      individual capacity, and John Doe Corrections Officers 1-10 (fictitious
                      individuals) in their individual capacities, and CFG Health Systems,
                      LLC
                      Docket No.: 1:16-cv-03503-JBS/AMD

                      The Estate of Jon Leon Watson by and through its administrator Ad
                      Prosequendum, Helen Ray Lloyd, and Helen Ray Lloyd, in her own
                      right v. County of Cumberland, Warden Robert Balicki, in his
                      individual capacity, John Doe Corrections Officers 1-10 (fictitious
                      individuals) in their individual capacities, and CFG Health Systems,
                      LLC
                      Docket No.: 1:16-cv-06578
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 July 12, 2021
 Judge Donio
 United States District Court
 Re:               Lewis v Cumberland County, et. al.
                   Watson v Cumberland County, et. al.



 Dear Judge Donio:

       Our office was recently assigned as Counsel for Defendants Cumberland
 County and Warden Balicki in the above captioned cases. It has come to my attention
 there are settlement conferences scheduled for July 13, 2021, at 10:30 a.m.
 Cumberland County Counsel has been unable to reach Attorney Daniel Rybeck, who
 was previously assigned as Defense Counsel for Cumberland County and Warden
 Balicki in the above captioned matters. We prepared and forwarded Substitution of
 Attorney forms to Cumberland County Counsel who has been unable to reach Mr.
 Rybeck to sign the Substitution of Attorney forms. In the meantime, I filed my
 Notice of Appearance in each of the above captioned matters.

       I am available to participate in the upcoming settlement conferences,
 however, I need some time to obtain information from prior Counsel for Cumberland
 County Defendants, to become familiar with the status of the settlement discussions
 and become familiar with the substantive issues in both of the above captioned
 matters. If the Court wishes to proceed with the conference on July 13, 2021, I will
 be present to participate.

        In the alternative, if the settlement conferences are postponed for sixty days,
 I will be in a better position to participate in settlement discussions.

         Thank you for your consideration.

                                            Respectfully submitted,

                                            BARKER, GELFAND, JAMES & SARVAS
                                            A Professional Corporation

                                   By: s/A. Michael Barker
                                            A. Michael Barker, Esquire

 cc:     Via ECF:
         Daniel Rybeck, Esquire
         drybecklaw@outlook.com
         Previous counsel for Cumberland County and Warden Balicki

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 July 12, 2021
 Judge Donio
 United States District Court
 Re:               Lewis v Cumberland County, et. al.
                   Watson v Cumberland County, et. al.



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